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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


    UNITED STATES OF AMERICA                                              CRIMINAL DOCKET

    VERSUS                                                                             NO: 19-20

    WAYNE TRICHE                                                                    SECTION: T



                                             ORDER

         Before the Court is a Motion to Dismiss Counts 1-34 of the Indictment for Failure to State

an Offense 1 filed by Wayne Triche (“Defendant”). The government has filed an opposition. 2

Having considered the motion, the memorandum in support, the memorandum in opposition, the

record, and the applicable law, the Court will deny the motion.



                                         BACKGROUND

         On February 14, 2019, a grand jury indictment was filed charging Defendant with 34

counts of wire fraud and 4 counts of filing false tax returns.3 The indictment alleges that the New

Orleans Firefighters Pension and Relief Fund (“NOFPRF”) signed a promissory note with

American Pension Consultants, LLC (“APC”) for $5,000,000 in 2003.4 APC allegedly used the

funds to purchase life insurance policies on behalf of NOFPRF as an investment strategy.5 In 2007,




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  R. Doc. 32.
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  R. Doc. 34.
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  R. Doc. 1.
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  R. Doc. 1, pp.2-3.
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  R. Doc. 1, pp.2-3.


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the owner of APC, George Russell, died. 6 Defendant was named as the executor for George

Russell’s estate, and took over APC and the investments of NOFPRF.7

        APC allegedly received life insurance benefits in excess of $6,000,000 on behalf of

NOFPRF. 8 However, Defendant allegedly embezzled most of the benefits received by APC

instead of returning the profits to NOFPRF by writing checks, withdrawing cash, and initiating

bank transfers from APC bank accounts to bank accounts controlled by Defendant. 9 The

indictment alleges Defendant stole approximately $2,074,668.43 of the NOFPRF money and used

it for personal expenses such as the payment of a civil judgement, gambling, home improvements,

credit card payments, and living expenses.10

        Defendant has filed a motion seeking dismissal of counts 1 through 34 of the indictment

for failure to state an offense,11 which is opposed by the government.12



                                          LAW AND ANALYSIS

        Federal Rule of Criminal Procedure 12(b)(3)(B) allows a defendant to move to dismiss an

indictment for failure to charge an offense. Rule 7(c) requires a “plain, concise and definite written

statement of the essential facts constituting the offense charged.” An indictment setting forth the

offense in the words of the statute itself is generally sufficient, provided that the statue sets forth

the essential elements of the offense.13 The government is not required to prove its case in the

indictment, but simply to set forth the elements of the offense, fairly inform defendants of the



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  R. Doc. 1, p.3.
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  R. Doc. 1, p.3.
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  R. Doc. 1, p.3.
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  R. Doc. 1, p.3.
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   R. Doc. 1, pp.4-5.
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   R. Doc. 32.
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   R. Doc. 34.
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   United States v. Gordon, 780 F.2d 1165, 1169 (5th Cir.1986).


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charges, and ensure no risk of future prosecution for the same offense.14 On a motion to dismiss

an indictment, the Court must take the indictment's allegations as true.15

        The wire fraud statute provides that “whoever, having devised or intending to devise any

scheme or artifice to defraud, or for obtaining money or property by means of false or fraudulent

pretenses, representations or promises” uses the wires is guilty of wire fraud.16 “To prove wire

fraud under 18 U.S.C. § 1343, the government must prove: (1) a scheme to defraud and (2) the use

of, or causing the use of, wire communications in furtherance of the scheme.” 17 Defendant

contends the indictment is deficient because the alleged wire fraud scheme did not involve taking
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any “property.”          Specifically, Defendant asserts that because the promissory note had

prescribed,19 NOFPRF had no property rights in the proceeds from the promissory note.20

        Taking the allegations as true, the Court finds the indictment sufficiently charges

Defendant with 34 counts of wire fraud as required by Rule 7(c). The indictment alleges Defendant

took the NOFPRF money using 34 separate transactions between December 2013 and January

2016. The indictment contends the Defendant used the money, totaling approximately

$2,074,668.43, for personal reasons, including the payment of a civil judgement, gambling, home

improvements, credit card payments, and living expenses.21 The indictment further alleges the

funds taken belonged to NOFPRF and that Defendant did not have authority to transfer the funds

to his personal accounts.22 These allegations support that Defendant devised a scheme to obtain



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   United States v. Cavalier, 17 F.3d 90, 92 (5th Cir.1994).
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   See United States v. Kay, 359 F.3d 738, 742 (5th Cir.2004) (quoting United States v. Hogue, 132 F.3d 1087, 1089
(5th Cir.1998)).
16
   United States v. Hoeffner, 626 F.3d 857, 863 (5th Cir.2010) (citing 18 U.S.C. § 1343).
17
   United States v. Dowl, 619 F.3d 494, 499 (5th Cir.2010) (quotation omitted).
18
   R. Doc. 32-1, pp.12-14.
19
   R. Doc. 32-1, p.5.
20
   R. Doc. 32-1, pp.12-14.
21
   R. Doc. 1, pp.4-5.
22
   R. Doc. 1, pp.4-5.


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money and property by means of false or fraudulent pretenses, representations, or promises in

violation of the wire fraud statute.23 Therefore, the Court finds the indictment sufficiently charges

the Defendant with 34 counts of wire fraud.

                                         CONCLUSION

           Accordingly, for the foregoing reasons, IT IS ORDERED that the Motion to Dismiss is

DENIED.

           New Orleans, Louisiana, on this 9th day of March, 2020.




                                                        GREG GERARD GUIDRY
                                                      UNITED STATES DISTRICT JUDGE




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     See 18 U.S.C. § 1343.


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